                 Case 2:21-mc-00007-RSM Document 5 Filed 01/27/21 Page 1 of 2




 1                                                                 The Honorable Ricardo S. Martinez

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9 IN RE
                                                            Misc. Case No. 2:21-mc-00007
10       APPLICATION OF FORBES MEDIA LLC
         AND THOMAS BREWSTER TO UNSEAL                      Related to Case. Nos. GJ-17-432
11       COURT RECORDS,                                     and GJ-19-097
12                                                          CORPORATE DISCLOSURE
                                                            STATEMENT
13

14

15            Pursuant to Local Civil Rule 7.1, Forbes Media LLC states that it is a privately owned

16 company and that no publicly held corporation owns 10% or more of its stock.

17            DATED this 27th day of January, 2021.

18                                                     Davis Wright Tremaine LLP
19
20                                                     By s/Ambika Kumar Doran
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24                                                     REPORTERS COMMITTEE FOR
                                                       FREEDOM OF THE PRESS
25                                                        Katie Townsend
                                                          Pro hac vice application pending
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27                                                        Telephone: (202) 795-9300
     CORPORATE DISCLOSURE STATEMENT
                                                                               Davis Wright Tremaine LLP
     (Misc. Case No. 2:21-mc-00007 ) - 1                                                L AW O FFICE S
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                 Case 2:21-mc-00007-RSM Document 5 Filed 01/27/21 Page 2 of 2



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                                              Attorneys for Applicants Forbes Media LLC and
 3                                            Thomas Brewster
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     CORPORATE DISCLOSURE STATEMENT
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